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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA

                             Alexandria Division

                                      )
  SIGNATURE FLIGHT SUPPORT            )
  CORPORATION,                        )
                                      )
        Plaintiff,                    )
                                      )
                                      )
              v.                      )       1:08cv955 (JCC/TRJ)
                                      )
                                      )
  LANDOW AVIATION LIMITED             )
  PARTNERSHIP,                        )
                                      )
        Defendant.                    )
                                      )

                     M E M O R A N D U M      O P I N I O N

              This matter is before the Court on a bench trial which

  took place pursuant Plaintiff’s Amended Complaint alleging a

  Breach of Contract (Count II) by Defendant.           Plaintiff further

  requests a Declaratory Judgment (Count I), an Accounting and

  Disgorgement (Count IV), and a Permanent Injunction (Count V) in

  the Amended Complaint.      Defendant counterclaimed for a

  Declaratory Judgment (Counts I and III) regarding, inter alia,

  fuel service standard, location of the taxilane centerline and

  permit issues.1

              After throughly reviewing and considering the relevant

  records and evidence including exhibits, deposition summaries,


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          The Court will not address the claims that have been dismissed
  previously after either parties’ stipulation or Landow’s motion for summary
  judgment.
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  and observing and evaluating witness testimony at trial, the

  Court makes the following findings of fact and conclusions of

  law.

                            I.   Findings of Fact2

              1.     Plaintiff Signature Flight Support Corporation

  (“Signature” or “Plaintiff”) is a Delaware corporation and is one

  of the two authorized Fixed Base Operator (“FBO”) concessions

  located at Washington Dulles International Airport (“Dulles” or

  “Airport”).      (Pl.’s Tr. Ex. (“PTE”) 1.)      Landmark Aviation

  (“Landmark”), formerly known as Piedmont Hawthorne, is the other

  FBO located at Dulles.      Signature operates a network of more than

  100 FBOs at a number of airports within the United States and

  internationally.

              2.     Defendant Landow Aviation Limited Partnership

  (“Landow” or “Defendant”) is a Virginia limited partnership

  formed to design, construct, own, and operate a service facility

  named the Dulles Jet Center (the “Dulles Jet Center” or “DJC”).

              3.     Landow Aviation, Inc., a Maryland Corporation, is

  a general partner of Landow.        Landow Aviation, Inc. has two

  principals: Nathan Landow and his son, David Landow.               Both the

  Landows are Maryland residents.        David Landow’s duties for the



         2
          Given the extraordinary length of this particular bench trial and a
  large volume of trial exhibits in the record, the Court notes, at the outset,
  that if the background and foundational factual matters were not disputed at
  trial, the Court will present the factual findings in this Memorandum Opinion
  without specific attribution to a particular witness or exhibit.
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  Landow entities include, among others, handling real estate

  development and various contract matters.         (Landow at 173:3-21,

  Sept. 15, 2009.)

             4.    In order to operate as an FBO and provide the

  services as an FBO at Dulles, the Metropolitan Washington

  Airports Authority (“MWAA”) conducts a competitive public

  procurement process.     Signature and its predecessors have been

  authorized to be an FBO since the 1960s pursuant to various FBO

  concession contracts with MWAA.       These contracts are of finite

  nature and prior to their extension, MWAA solicits competitive

  bids for the follow-on contracts.

             5.    In 1997, after winning the public procurement

  process, Signature entered into a concession contract for the

  management and operation of an FBO concession at Dulles

  (“Concession Contract”) with MWAA.        (PTE 1.)   As part of the

  Concession Contract, Signature renewed its leasehold interest

  from MWAA for general aviation terminal facilities, hangars, and

  ramp space at Dulles to provide its FBO services there.           (PTE 1.)

             6.    The Concession Contract sets forth the rights,

  duties and obligations of Signature as an FBO at Dulles.           Under

  the Concession Contract, Signature is required to provide various

  products and services as specified therein as an FBO at Dulles.

             7.    For example, Section 3.02 of the Concession

  Contract grants Signature “[t]he right to establish, conduct and

  operate a full service FBO concession.”        Further it states that
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  Signature “shall have the exclusive right . . . to provide the

  services authorized by” the Concession Contract.          (PTE 1 at

  § 3.02.)

             8.    Under Section 3.03(a)(2) of the Concession

  Contract, Signature must provide “the sale of ramp assistance [to

  those] desiring to utilize the Premises including, but not

  limited to, hangaring of based and transient aircraft, aircraft

  lead-in, lead-out and repositioning services, loading and

  unloading passengers, baggage and cargo; aircraft parking

  including protective storage and tie-down of based and transient

  aircraft . . . .” (PTE 1 at § 3.03(a)(2).)

             9.    Transient aircraft are those that are not

  permanently based at Dulles but are traveling through Dulles

  between the beginning and end point of their trip.          (Farmer at

  55:15-23, Aug. 31, 2009 A.M.)       An FBO provides a number of

  services to the transient aircraft market.

             10.   MWAA’s Minimum Fixed Base Operator Standards

  (“Minimum Standards”), Exhibit F to the Concession Contract,

  further expounds Signature’s obligation as an FBO at Dulles.            It

  requires that Signature, as a Class I FBO at Dulles, provide

  certain Basic Aeronautical Services to transient aircraft at

  Dulles such as fuel sales, ground handling and customer services,

  and aircraft and powerplants maintenance.         (PTE 1; Ex. F.)     The

  Minimum Standards define “ground handling and customer services”

  to include “aircraft lead-in/lead-out services; aircraft parking
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  guidance; aircraft tie down and hangar storage; chock management

  and monitoring engine start-up safety; aircraft repositioning;

  ground power and oxygen service; de-icing; on-Airport

  transportation of passengers, crews, and baggage; assistance with

  the ground transportation and accommodation; landing fee

  collection . . . .” (PTE 1, Ex. F at 6-7.)

             11.   Signature, as an authorized FBO at Dulles, must

  comply with a set of rules and regulations overseen by MWAA and

  the Federal Aviation Administration (“FAA”).         For example, MWAA

  requires Signature meet certain operations, security, and safety

  requirements, such as remaining open 24 hours a day, 7 days per

  week, with a sufficient number of trained and skilled personnel

  to provide required services to general aviation aircraft.            (PTE

  1; Ex. A at §§ 3.08, 3.10.)

             12.   Signature must not delegate the authority MWAA

  granted to it absent MWAA’s approval.         Signature has no authority

  to create another FBO at Dulles.         (PTE 1 at § 3.05(a).)

             13.   Signature assesses various fees and charges to

  transient aircraft using its FBO at Dulles such as overnight

  parking fees, handling fees if such aircraft do not purchase

  fuel, and other additional fees for ancillary services.           (Farmer

  at 62:1-63:12, Aug. 31, 2009, A.M.)

             14.   For the right to be an FBO at Dulles, Signature

  pays significant amount of concession fees to MWAA.          For example,

  in 2008, Signature paid over $9 million to MWAA in concession
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  fees including fees on fuel sales, aircraft parking, and other

  ancillary services.      (Farmer at 73:15-17, Aug. 31, 2009, A.M.)

             15.   Under Section 3.03(b)(7) of the Concession

  Contract, Signature was granted the option to develop a 19-acre

  parcel abutting its premises at Dulles for “additional ramp

  and/or general aviation hangars” in the future.          (PTE 1 at

  § 3.03(b)(7).)

             16.   Due to the temporary closing of the Ronald Reagan

  Nation Airport to general aviation following the events of

  September 11, 2001, general aviation traffic and business

  dramatically increased at Dulles.        Due to this fact, Signature

  decided to exercise its option to develop the parcel at Dulles.

  (Farmer at 74:1-22; 75:21-76:16, Aug. 31, 2009, A.M.)           This

  parcel is later referred to as the “Corporate Hanger Premises”

  under the Supplemental Agreement executed between MWAA and

  Signature.    (PTE 9.)

             17.   In 2002, Signature was approached by Nathan Landow

  about the possibility of developing the parcel for corporate

  hanger facilities.     In the same year, Signature and Landow

  executed a Letter of Intent to develop corporate hanger

  facilities and related facilities.        These facilities are later

  referred to as the “Dulles Jet Center” or “DJC.”          (Farmer at

  74:14-76:16, Aug. 31, 2009 A.M.)

             18.   On October 7, 2004, Signature signed a

  “Supplemental Agreement Between MWAA and Signature for the
                                       6
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  Development of Corporate Hanger Facilities at Washington Dulles

  International Airport” (“Supplemental Agreement” or the “SA”).

  (PTE 9.)   The Supplemental Agreement was negotiated mainly

  between MWAA and David and Nathan Landow with Signature’s input

  from John Cy Farmer (“Farmer”) who was then-Signature’s Vice

  President and Signature’s general counsel, Claire Margaret

  Groover.   (Cameron at 95:6-96:3, Sep. 1, 2009; Landow at 174:4-

  12, Sep. 15, 2009 P.M..)      On behalf of MWAA, Rochelle Cameron

  (“Cameron”) negotiated, executed and ratified the Supplemental

  Agreement.

             19.   With MWAA’s approval, Signature and Landow entered

  into a Ground Sublease Agreement (“GSA”) dated April 15, 2004

  under which Signature sublet the Corporate Hangar Premises to

  Landow.    Even though the GSA was executed before the execution of

  the Supplemental Agreement, the GSA did not become effective

  until the full ratification of the Supplemental Agreement.            The

  GSA was signed by Elizabeth Haskins (“Haskins”), the former

  President of Signature, and Nathan Landow.         (PTE 7.)    Signature’s

  purpose in executing the GSA was to increase its fuel sales and

  to alleviate the overflow of transient aircraft situation that it

  was experiencing.     (Farmer at 75:18-76:16, Aug. 31, 2009 A.M.)

             20.   During these contract negotiations in early 2004,

  according to Farmer’s unrebutted testimony, in a meeting that

  took place in a Signature’s conference room, Nathan Landow

  requested that DJC be allowed to service and solicit transient
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  aircraft.    Farmer informed Nathan Landow that Signature’s intent

  was never to allow Landow to do so.        (Farmer at 87:3-19, Aug. 31,

  2009 A.M.).3

              21.   Importantly, Nathan Landow’s own handwritten

  memorandum, written on memorandum paper “from the Desk of David

  Landow” specifically stated, among other things, “no transient

  will be considered a Landow customer,” and “Hangar and ramp based

  customers under lease are Landow customers.”          (PTE 213.)

              22.   In early October 2004, Signature management and

  Nathan Landow attended a dinner meeting at the NBAA convention in

  Las Vegas.     At that dinner meeting, Nathan Landow expressed his

  interest in growing the transient business at Dulles.

  Signature’s Haskins expressly told Nathan Landow at that meeting

  that Landow would not be permitted to handle the transient market

  at Dulles and that it was a “deal breaker.”          Nathan Landow agreed

  that he would not do so.      (Farmer at 87:21-88:14, Aug. 31, 2009

  A.M.; Haskins at 66:1-67:25, Sept. 3, 2009 A.M.)

              23.   The Supplemental Agreement prohibits Landow from

  providing services provided by "concessionaires or other

  contractors under contract with” MWAA.         (PTE 9 at § 3.03(c).)

  Landmark and Signature are the only authorized FBO



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         Nathan Landow did not choose to testify nor was he subpoenaed to
  testify by Signature. The Court will not draw an adverse inference from his
  silence. The Court notes, however, that it credits and believes the
  unrebutted testimony of Farmer regarding parties’ behavior during these
  negotiations.
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  concessionaires at Dulles.      Also, the Supplemental Agreement

  excuses Landow from paying a concession fee for its own aircraft,

  aircraft owned by its tenants and the “guests and visitors” of

  either Landow or its tenants.       (PTE 9 at § 5.04(a).)      According

  to Cameron, MWAA did not intend for Section 5.04(a) of the

  Supplemental Agreement to grant Landow the right to solicit and

  service transient aircraft without collecting applicable fees

  from them and remitting part of those fees to MWAA. (Cameron at

  103:12-104:12, Sept. 1, 2009.)

             24.   Under Sections 4.1 and 4.1(a) of the GSA, Landow

  “expressly warrants and represents that it shall not, at any time

  . . . undertake . . . to provide . . . the services of a fixed

  base operation or facility” on the DJC premises.          (PTE 7.)

             25.   Signature has the right under the GSA to refer

  transient aircraft wishing to hangar their aircraft overnight to

  DJC and to park overflow traffic on DJC’s ramp.          (PTE 7, §10.2;

  § 26.1.)

             26.   In the spring of 2005, Landow began construction

  of the Dulles Jet Center.      The construction loan application to

  SunTrust Bank for the site development and construction of the

  Dulles Jet Center was approximately for $23 million.           (PTE 23, p.

  1, and Ex. A.)

             27.   Landow spent in excess of $37 million, which is

  more than 50% over the originally-budgeted amount, to build the

  Dulles Jet Center.     (PTE 112; Landow at 35:1-9, Sept. 16, 2009.)
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              28.   DJC opened in October of 2006.       Prior to the

  opening while the construction of DJC was still underway, Nathan

  Landow tried to sell DJC to both Landmark and to Signature.            (PTE

  43.)   According to the unrebutted testimony of Farmer, Nathan

  Landow flew to Florida to meet with Farmer over lunch.           During

  this lunch, Nathan Landow inquired whether Signature would be

  interested in acquiring the Dulles Jet Center.          At that meeting,

  Landow acknowledged to Farmer that he has made a bad deal in

  negotiating these contracts, has spent too much money in

  constructing DJC, and was looking for a possible way to get out

  of the business.     (Farmer at 5:6-6:12, Aug. 31, 2009 P.M.)

  Specifically, Nathan Landow told Farmer:         “If you can make this

  happen, I’ll make it worth your while.”         Farmer understood Nathan

  Landow’s offer to be a bribery and did not accept this offer.

  (Farmer at 6:16-7:14, Aug. 31, 2009 P.M.)

              29.   After DJC opened in October 2006, Signature began

  losing some of its transient customers to the Dulles Jet Center

  such as Dow Chemical, Eli Lily, and Black & Decker.           (Bennett at

  93:19-95:6, Sept. 2, 2009 A.M.; Farmer at 26:13-27:18, Aug. 31,

  2009 P.M.);(PTE 67; 210.)

              30.   On October 25, 2006, Signature’s Farmer and

  Michael Bennett (“Bennett”), Vice President of Signature, met

  with Nathan and David Landow to discuss the transient aircraft

  issues.    During this meeting, Farmer told them that DJC was not

  supposed to be servicing the transient aircraft market at Dulles,
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  informed them this was not the intent of the agreement, and

  requested DJC to stop soliciting Signature’s transient clients.

  (Farmer at 27:23-29:13, Aug. 31, 2009 P.M.); (Bennett at 5:2-

  6:19, Sept. 2, 2009, P.M.)

              31.   At that meeting, Nathan Landow requested a change

  in the terms of the deal that Landow previously formed with

  Signature by increasing the revenue Landow would be permitted to

  keep from Signature’s overflow parking and cutting MWAA

  completely out of its entitlement, which is 40% of those

  revenues.    (Farmer at 29:14-30:7, Aug. 31, 2009 P.M.); (PTE 55.)

  On October 31, 2006, Nathan Landow confirmed in an e-mail that

  these were his requested changes.          (PTE 61.)

              32.   On December 6, 2006, Signature’s General Counsel,

  Joseph Goldstein sent a demand notice asking Landow to cease and

  desist from acting or performing as an FBO and driving revenues

  from the transient market at Dulles.          Signature cited in this

  letter excerpts from several articles that suggested Landow was

  acting as a third FBO at Dulles.          (PTE 68.)    In response to

  Landow’s demand for mediation, Signature again sent a letter to

  Landow setting forth its position on transients on January 2,

  2007.   (PTE 71.)    Signature and Landow engaged in a formal

  mediation process with respect to the transient issue and other

  related issues.

              33.   DJC offers ground handling, taxiing, towing, ramp

  assistance, ground power units, baggage handling, passenger
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  assistance, ground transportation, rental car services, and

  catering.    (Meeusen at 13:16-15:3, Sept. 3, 2009 A.M.); (PTE

  220.)   Such services are among those Signature shall and may

  provide to the transient aircraft market at Dulles under the

  Concession Contract and the Supplemental Agreement under the

  Concession Contract and the Supplemental Agreement.

              34.   According to Bennett, the number of transient

  aircraft traveling directly to DJC and bypassing Signature’s ramp

  was between 8 and 10 per day in late 2008 and early 2009.

  (Bennett at 99:15-20, Sept. 2, 2009 A.M.)         Signature contends it

  loses revenue from parking fees and handling charges when these

  transient aircraft bypass Signature’s FBO.         (Bennett at 107:6-13,

  Sept 2, 2009 A.M.)

              35.   Landow refused to allow Signature to park overflow

  traffic on the Dulles Jet Center’s ramp with no justification

  even though it has obligation to make its ramp available to

  Signature for overflow parking.        (PTE 7 at § 10.2);(Bennett at

  33:23-35:2, Sept. 2, 2009 P.M.)

              36.   Landow is holding DJC out to general aviation

  community as an FBO.      (PTE. 139.)     When speaking to potential

  customers, DJC employees often refer to itself as an FBO.            (PTE

  105, 132, 186.)     For example, DJC employees represented to its

  customers or potential customers that “besides fuel, [DJC]

  provide[s] all other services an FBO provides” and that it “is


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  the only FBO in the DC area that offers transit [sic] hangar

  space.”    (PTE 132; 270.)

              37.   DJC advertised itself as the “newest FBO” at

  Dulles in the United Airlines lounges at Dulles and Chicago’s

  O’Hare International Airport.       (PTE 171.)    Nathan Landow

  requested and approved these advertisements.          (Meeusen at 40:24-

  42:10, Sept. 3, 2009, A.M.)       Landow also advertised DJC in the

  2009 AC-U-KWICK FBO Guide, the national guide for FBOs used by

  pilots, and on numerous websites that are directed to the

  transient aircraft market such as Fltpln.com and Airnav.com. (PTE

  83, 162, 177, 183, 207, 246, 257, 272);         (Farmer at 49:18-52:6,

  Aug. 31, 2009 P.M.); (Bennett at 7:1-8:12, Sept. 2, 2009 P.M.)

              38.   In 2008, Landow launched a “Break Away From

  Signature Campaign” so that Landow can gain fueling rights at

  DJC. (PTE 117; 162; 273(l).)       The GSA gives Landow right to

  petition MWAA for its own fueling rights if it could demonstrate

  that Signature’s fueling services was provided in an acceptable

  manner. (PTE 7 at § 4.2(a).)       As part of that campaign, Landow

  met with MWAA Vice President and Airport Manager at Dulles, Chris

  Browne (“Browne”) and his staff, and sent a letter in support of

  its position on June 3, 2008.       (PTE 137, 162.)

              39.   At Landow’s request, MWAA commenced a review and

  an investigation regarding Signature’s allegedly inadequate fuel

  service.    When MWAA requested Signature to respond to Landow’s

  allegations against it, Signature responded that DJC’s argument
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  was misplaced because DJC was handling the volume of transient

  traffic that it was not supposed to handle.          Signature pointed

  out that DJC was not an FBO and the right to handle and service

  the transient market were reserved for FBOs.          (PTE 178 (pp. 2-4;

  15-16)).

              40.   After the investigation, MWAA found that evidence

  was insufficient to conclude that Signature violated its fuel

  service agreement.     (PTE 187A.)     In August, 2008, MWAA’s Browne

  issued a letter ruling the following:

             Dulles Jet Center is primarily intended to be a
        corporate hangar facility, providing hangar space and
        services for corporations who base their jets at
        Dulles Jet Center . . . . Landow should not be
        promoting Dulles Jet Center as an FBO for transient
        aircraft using Dulles Airport. Signature and Landmark
        Aviation are the only FBOs at Dulles Airport and it is
        the Authority’s intent that these FBOs handle the
        transient general aviation business at Dulles Airport.
        We expect Landow’s primary focus to be on leasing
        space to corporations to house their jets at Dulles
        Airport and providing services to those tenants.

  (PTE 187A.)

              41.   In response, Landow informed MWAA via letter on

  September 2, 2008 that it would abide by MWAA’s interpretation

  but has failed to do so.      (PTE 192.)

              42.   Even after receiving MWAA’s August, 2008 letter

  regarding DJC’s status as a non-FBO at Dulles, Landow made

  several requests to MWAA seeking to serve as a de facto FBO.             For

  example, Landow sought an additional signage at Dulles and

  additional aircraft parking area during the Presidential

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  Inauguration activities, and asked to be added to MWAA’s website

  under the FBO heading with the other FBOs at Dulles, all made

  after Browne’s letter to Landow articulating MWAA’s position.

  (PTE 193, 194.)

              43.   On September 8, 2008, MWAA’s Browne denied these

  requests by Landow because DJC is not an FBO and only Signature

  and Landmark have been approved to provide FBO services to

  transient aircraft at Dulles.       (PTE 194.)

              44.   MWAA’s position, as evidenced by unrebutted

  testimony of Cameron and Browne, is that it was never MWAA’s

  intent to allow Landow to handle and service the transient

  aircraft market at Dulles.       (Cameron at 94:15-95:4; 116:23-117:6;

  183:4-25, Sept. 1, 2009);(Browne at 210:1-8; 210:14-16; 221:10-

  19; 231:15-233:23; 246:17-248:1; 298:22-300:14, Sept. 1, 2009.)

              45.   Signature’s existing lease with MWAA is set to

  expire in 2012, at which time Landow may compete for FBO rights

  at Dulles.

                                 II. Analysis

              The Court first addresses the merits of Plaintiff’s

  claims of Breach of Contract, Declaratory Judgment, Accounting

  and Disgorgement, and Permanent Injunction.          The Court will then

  address the merits of Defendant’s counterclaims against Plaintiff

  seeking certain Declaratory Judgments.

   A.   Count II: Breach of Contract


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              Signature alleges that Landow has breached the GSA by

  soliciting and servicing transient aircraft, earning revenue from

  such prohibited activities, and acting as and holding itself out

  as an FBO.    Defendant Landow submits that, even though it has

  enforceable obligations to Plaintiff under the GSA, its actions

  do not violate the GSA.

              To succeed on its breach of contract claim, Plaintiff

  must show: “(1) a legally enforceable obligation of a defendant

  to a plaintiff; (2) the defendant’s violation or breach of that

  obligation; and (3) injury or damage to the plaintiff caused by

  the breach of obligation.”       Filak v. George, 594 S.E.2d 610, 614

  (Va. 2004) (citations omitted).

        1.   Legally Enforceable Obligation

              The Court first addresses whether Landow had any

  legally enforceable obligation to Signature.          In Virginia, it is

  well established that restrictive covenants regarding the use of

  land are not favored and strictly construed against the party

  seeking the enforcement.      Dart Drug Corp. V. Nicholakos, 277

  S.E.2d 155, 157 (1981) (internal citation omitted).           “Substantial

  doubt or ambiguity is to be resolved against the restrictions and

  in favor of the free use of property.”         Friedberg v. Riverpoint

  Bldg. Comm., 239 S.E.2d 106, 110 (Va. 1977) (citations omitted).

  “However, when the terms of a restrictive covenant are clear and

  unambiguous, the language used will be taken in its ordinary


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  signification, and the plain meaning will be ascribed to it.”

  Barris v. Keswick Homes, L.L.C., 597 S.E.2d 54, 57 (Va. 2004)

  (citing Marriott Corp. v. Combined Properties, L.P., 391 S.E.2d

  313, 316 (Va. 1990); Foods First, Inc. v. Gables Associates, 418

  S.E.2d 888, 889 (Va. 1992)).       "The guiding light . . . is the

  intention of the parties as expressed by them in the words they

  have used, and courts are bound to say that the parties intended

  what the written instrument plainly declares."          Golding v. Floyd,

  539 S.E.2d 735, 737 (Va. 2001) (citing Magann Corp. v. Electrical

  Works, 123 S.E.2d 377, 381 (Va. 1962)).         “Parol evidence of prior

  or contemporaneous oral negotiations are generally inadmissible

  to alter, contradict, or explain the terms of a written

  instrument provided the document is complete, unambiguous, and

  unconditional.”     Renner Plumbing, Heating & Air Conditioning,

  Inc. v. Renner, 303 S.E.2d 894, 898 (Va. 1983).

              The question of whether the language of a contract is

  ambiguous is a question of law and the Court’s job is “to

  construe the contract made by the parties, not to make a contract

  for them.”    Doswell Ltd. P’ship v. Virginia Elec. and Power Co.,

  468 S.E.2d 84, 88 (Va. 1996) (citation omitted).          “An ambiguity

  exists when language admits of being understood in more than one

  way or refers to two or more things at the same time.”           Renner

  Plumbing, Heating & Air Conditioning, Inc., 303 S.E.2d at 898.

  The Court will not render contracts ambiguous “merely because the


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  parties or their attorneys disagree upon the meaning of the

  language employed to express the agreement.”          Doswell Ltd.

  P’ship, 468 S.E.2d at 88.       “Even though an agreement may have

  been drawn unartfully, the court must construe the language as

  written if its parts can be read together without conflict.”            Id.

  (citing Berry v. Klinger, 300 S.E.2d 792, 796 (Va. 1983)).            The

  Court gathers the meaning of the language of a contract “from all

  its associated parts assembled as the unitary expression of the

  agreement of the parties.”       Berry, 300 S.E.2d at 796.

              Both parties submit there exists no ambiguity in the

  relevant contract language and ask the Court to construe the

  unambiguous terms of the contract at issue according to their

  plain meaning.     Upon consideration of the Virginia’s well-

  established legal principles regarding contract interpretation

  and the contract terms contained in the relevant contracts at

  issue, the Court agrees with the parties that the relevant

  languages of the GSA, Supplemental Agreement and the Concession

  Contract provisions are not ambiguous and clearly restrict

  Defendant from provision of services of an FBO and service of the

  general transient market.       Additionally, because “it is apparent

  from a reading of the whole instrument that the restrictions

  carry a certain meaning by definite and necessary implication,

  then the thing denied may be said to be clearly forbidden, as if

  the language had been in positive terms of express inhibition.”


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  Bauer v. Harn, 286 S.E.2d 192, 196 (Va. 1982) (citing Friedberg

  v. Building Committee, 239 S.E.2d 106, 110 (1977)).

              The three contracts governing the relevant rights and

  obligations of Plaintiff at Dulles are the Concession Contract,

  the Supplemental Agreement, and the GSA.         While Defendant is a

  party to the GSA only, it is nonetheless subject to certain terms

  and duties imposed on it by the Concession Contract and the

  Supplemental Agreement by implication.         For example, the terms of

  the GSA is constrained by the terms and provisions of the

  Supplemental Agreement.      (PTE 7 at § 5.01 (“This [GSA] shall at

  all times be subject to and contingent upon the terms, conditions

  and requirements of the Supplemental Agreement . . .           If there is

  any conflict or inconsistency between the terms and conditions of

  the [GSA] and those of the Supplemental Agreement, the

  Supplemental Agreement shall control.”)         Plaintiff claims that,

  interpreted as a whole, the plain language of the Concession

  Contract, the Supplemental Agreement, and the GSA prohibits

  Defendant from providing the services of an FBO or servicing the

  general transient aircraft market at Dulles.          The Court agrees.

              a.   Non-Competition Clause:      Services of an “FBO”

              Section 4.1 of the GSA, the non-competition provision,

  provides, that Landow, except for certain “approved uses” of the

  Dulles Jet Center, “shall not engage in any other use of,

  activity at, the [Dulles Jet Center].”         (PTE 7 at § 4.1.)


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  Further, it provides that “[Defendant] expressly warrants and

  represents that it shall not, at any time . . . undertake on its

  own behalf, or cause to be undertaken through any third

  party . . . the following services at or on the [Dulles Jet

  Center]: (a) a fixed base operation [that is, an FBO] or

  facility . . .”     (PTE 7 at § 4.1.) (emphasis added).        “Approved

  uses” referenced in the non-competition clause above are those

  set out in Article I of the GSA, Sections 3.03 and 3.04 of the

  Supplemental Agreement, and Article IV of the Supplemental

  Agreement.    (PTE 7.)

              Plaintiff claims that the GSA did not transfer to

  Defendant any of its exclusive right to provide FBO services

  according to the plain language of Section 4.1 of the GSA and

  related sections of the Supplemental Agreement.          Defendant

  contends that it is not violating Section 4.1(a) of the GSA

  because the Dulles Jet Center is not an FBO.          Defendant submits

  that DJC is not technically an FBO because one must sell fuel to

  be an FBO, and DJC does not and cannot sell fuel.           Landow’s

  expert witness, Eric Smith, an attorney specializing in part in

  aviation law and representation of airports, testified that the

  core FBO services at major airports such as Dulles should include

  fueling.    (Smith at 68:19, Sept. 3, 2009 P.M.)

              The Court acknowledges that nowhere in the GSA or

  Supplemental Agreement is the term “fixed based operation,”


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  “fixed based facility,” “fixed based operator,” or “FBO” defined.

  However, the main issue in this case is not whether Landow fits

  the technical definition of an FBO, but whether Landow may

  provide services provided by an FBO in violation of Section

  4.1(a) of the GSA.     Section 3.3 of the Concession Contract

  expounds the “primary and secondary commercial support services”

  that Signature can offer as part of its FBO concession.            (PTE 1

  at § 3.03.)    Section 3.03 requires Plaintiff to:

        Provide the sale of ramp assistance to all transient
        aircraft desiring to use the Premises including, but
        not limited to, hangaring of based and transient
        aircraft, aircraft lead-in, lead-out and repositioning
        services; loading and unloading passengers, baggage and
        cargo; aircraft parking including protective storage
        and tie-down of based and transient aircraft . . . .


  (PTE 1 at § 3.03(a)(2).)      Thus, along with the provision of fuel,

  these activities identified in Section 3.3 of the Concession

  Contract exemplify the typical services an FBO provides.            Though

  Defendant was not a party to the Concession Contract, the Court

  holds that reading of the relevant contracts as a whole, in an

  explanatory fashion as laid out below, based on the plain meaning

  of the terms of the contracts, is permissible and reasonable.

  See Pocahontas Mining LLC v. CNX Gas Co., LLC, 666 S.E. 2d 527,

  531 (Va. 2008).

              First, Section 5.1 of the GSA provides that “[a]ll of

  the terms, provisions, covenants . . . in the Supplemental

  Agreement are hereby made a part of this [GSA] except as

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  otherwise herein provided.”       (PTE 7 at § 5.1.)     Thus, the Court

  is allowed to review the terms of the Supplemental Agreement to

  the extent that they may be applicable in its effort to interpret

  Section 4.1 of the GSA.      Section 3.04 of the Supplemental

  Agreement, which modified the Concession Contract, grants

  Signature:

             [T]he exclusive right to furnish [at the Dulles
        Jet Center] fuel, products, and FBO services provided
        for under the [Concession Contract] to the Tenant, the
        Subtenants of the Tenant, and guests, visitors, and
        invitees of the Tenant and its Subtenants, and
        customers of [Plaintiff] authorized to use the [Dulles
        Jet Center].

  (PTE 9 at § 3.04.) (emphasis added).        Based on the reading of

  this Section, using the plain meaning of the terms included

  therein, the Court concludes that Signature has exclusive right

  to furnish not only fuel but also all other FBO services at

  Dulles.    Holding otherwise would render the terms of Section 3.04

  meaningless and redundant.       Pocahontas Mining, 666 S.E.2d at 531.

  This interpretation is further supported by the plain language

  and structure of Section 4.1 of the GSA.         Section 4.1 expressly

  and separately sets out prohibition on fueling and de-icing

  service under subsections (d) and (e), respectively, in addition

  to the prohibition in subsection (a) regarding FBO services.

  (PTE 7 at §§ 4.1(a),(d),(e).)       Thus, Defendant’s argument that it

  is not violating Section 4.1(a) of the GSA so long as it does not

  sell fuel and de-icing service is unavailing.


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              Section 3.04 of the SA refers to “FBO services provided

  for under the [Concession Contract]” when describing Signature’s

  exclusive right.     (PTE 9 at § 3.04.)     Section 3.03 of the

  Concession Contract as well as Exhibit F to the Concession

  Contract specifically describe many ground handling and customer

  services such as aircraft lead-in, lead-out and repositioning

  services, tie down and hangar storage, chock management, loading

  and unloading passengers, baggage and cargo, aircraft parking

  including protective storage, and tie-down of based and transient

  aircraft, to be core FBO services.        (PTE 1 at § 3.03).

  Accordingly, the Court holds that Landow’s provision of any and

  all FBO services, as described in the relevant contracts, is in

  violation of Section 4.1(a) of the GSA.

              b.   Acting or Holding DJC out as an “FBO”

              Plaintiff contends that Defendant is violating

  Section 4.1 of the GSA by holding itself out and acting as an

  FBO.   Defendant, in response, argues that because there is no

  express provision in Section 4.1 of the GSA that prohibits Landow

  from holding itself out as an FBO or acting as an FBO, there is

  no specific duty to not act or hold DJC out as an FBO, and that

  the Court must not expand the scope of a non-competition covenant

  to include what is not explicitly set forth there.           Food First,

  Inc. 418 S.E.2d at 890.      The Court rejects Defendant’s argument.




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              The plain language of the contracts governing the

  relationship between Plaintiff and Defendant points to a general

  limitation on the activities Defendant can undertake at the

  Dulles Jet Center.     (See PTE 7 at § 4.01.)      One of these

  limitations comes from the agreement not to compete with

  Plaintiff as an FBO.      Another is structural: the general

  limitation of Defendant’s activities to those that the GSA and

  the Supplemental Agreement allow.         In other words, the GSA

  provides a limited waiver of Plaintiff’s exclusive rights, and

  the default position is that Defendant can only do what the GSA

  allows.    Simply, the GSA grants Defendant certain rights and

  those rights only.     For this reason, Defendant’s argument based

  on the fact that the GSA never explicitly states that Defendant

  cannot act or hold itself out as an FBO is unpersuasive.

              c.   Transient Aircraft Market and “Guests,”
              “Visitors,” “Invitees,” “Licensees” and “Customers”

              Defendant argues that, based on the GSA and

  Supplemental Agreement’s references to, among other terms,

  “guests,” “visitors,” “invitees,” “licensees,” and “customers,”

  in naming the persons and entities the GSA allows Defendant to

  serve, it has the right to service the general transient aircraft

  market at Dulles.     See, e.g., (PTE 7 at §§ 1.2 and 4.1; PTE 9 at

  §§ 3.01, 3.03, 3.04, 4.02.)       If the GSA limits Defendant to serve

  only the tenant planes based in the Dulles Jet Center, Defendant

  argues, such words would be unnecessary surplusage.           Plaintiff

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  contends that Defendant’s interpretation that it can serve

  general transient aircraft market would create impermissible

  inconsistencies within the contract.        The Court agrees with

  Plaintiff.

              The parties sharply dispute the scope of rights granted

  to Defendant regarding service to and solicitation of general

  transient aircraft market based on the meaning of the terms

  “guests,” “visitors,” “invitees,” “licensees,” and “customers,”

  in the GSA and SA.     The Court will not render the relevant

  agreements unambiguous on this basis alone.          Westmoreland-LG&E

  Partners v. Virginia Elec. and Power Co., 486 S.E.2d 289, 294

  (Va. 1997) (“[c]ontracts are not [to be] rendered ambiguous

  merely because the parties or their attorneys disagree upon the

  meaning of the language employed to express the agreement.”)

              As explained supra, a contract is ambiguous “when the

  contract's language is of doubtful import, is susceptible of

  being understood in more than one way or of having more than one

  meaning, or refers to two or more things at the same time.”

  Pocahontas Min. Ltd. Liability, 666 S.E.2d at 531 (citing Video

  Zone, Inc. v. KF & F Props., L.C., 594 S.E.2d 921, 923 (Va.

  2004).     To determine whether disputed contractual terms are

  ambiguous, the Court considers the words employed in accordance

  with their usual, ordinary, and popular meaning.          Id. (citations

  omitted).


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              Upon consideration of the usual, ordinary and popular

  meaning of the terms “guests,” “visitors,” “invitees,”

  “licensees,” and “customers”4 and how these terms are used in the

  different provision of the GSA and SA, the Court concludes that

  the relevant contracts are not ambiguous with regard to

  Signature’s exclusive right to service the general transient

  aircraft market.     Even though the terms “guests,” “visitors,”

  “invitees,” “licensees,” and “customers” are not defined

  specifically in the relevant contracts, when read as a whole,

  they cannot be understood to have more than one meaning.

  Doswell, 468 S.E.2d at 88.       They describe a sub-set of entities

  to whom DJC may provide limited services as defined by the GSA,

  the Supplemental Agreement and the Concession Contract.             Because

  the relevant terms of the contracts at issue are clear and

  unambiguous, the Court next explores, without the use of parol or

  extrinsic evidence, whether the plain language of the contracts,

  allows Landow to serve the general transient market at Dulles

  without any limitations.

              Section 4.1 of the GSA provides that Landow “shall not

  engage in any other use of, activity at, the [Dulles Jet Center]”
        4
          According to Black’s Law Dictionary (8th ed. 2004), a “guest” is “a
  person who is entertained or to whom hospitality is extended”; a “visitor” is
  a person who goes or comes to a particular person or place; “invitee” is a
  person who has an express or implied invitation to enter or use another's
  premises, such as a business visitor or a member of the public to whom the
  premises are held open; a “licensee” is one who has permission to enter or use
  another's premises, but only for one's own purposes and not for the occupier's
  benefit. Merriam Webster Online defines the term “customer” as one that
  purchases a commodity or service.


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  except for certain “approved uses” of the Dulles Jet Center.

  (PTE 7 at § 4.1.)     The “approved uses” referenced in the non-

  competition clause are those set out in Article I of the GSA,

  Sections 3.03 and 3.04 of the Supplemental Agreement, and Article

  IV of the Supplemental Agreement.         Id.

              Article I of the GSA allows Defendant to take

  possession of, and build on, the land subleased to it.            Article I

  also limits the uses of the Dulles Jet Center, which “shall only

  be used for the servicing, maintenance, repair, parking, storage

  and hangaring of aircraft owned and/or operated by Sublessee and

  “Sublessee’s Representatives” . . . and customers of [Plaintiff],

  and for ancillary services related thereto.”          (PTE 7 at

  § 1.2(a).)    “Sublessee’s Representatives” is defined as including

  “Sublessee’s Tenants,” which include “licensees,” as well as

  Defendant’s “employees, contractors, subcontractors, subtenants,

  agents, and invitees.”      (PTE 7 at § 4.1.)

              Section 3.03 of the Supplemental Agreement contains

  limitations on the use of the Dulles Jet Center similar to the

  limitations in Article I of the GSA.        (PTE 9 at § 3.03.)      Under

  § 3.03, use of the Dulles Jet Center is limited to “servicing,

  maintenance, repair, parking, hangaring, and storage” –

  applicable to Defendant, its subtenants, “guests and visitors” of

  Defendant and its subtenants, “customers of Defendant,” and

  Plaintiff.    “Other than the approved use of the [Dulles Jet

  Center] as described in this Supplemental Agreement . . . no
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  commercial business or concession shall be operated from the

  [Dulles Jet Center] other than by the [Plaintiff].”           Id.

              Section 3.04 of the Supplemental Agreement explicitly

  grants to Plaintiff “the exclusive right to furnish on the

  [Dulles Jet Center premises] fuel, products, and FBO services

  provided for under the [Concession Contract] to [Defendant, its

  subtenants, and guests, visitors, and invitees].”           (PTE 9 at

  § 3.04.)    Section 3.03 of the Concession Contract provides that

  “the sale of ramp assistance to all transient aircraft” is one of

  the FBO services Signature may provide exclusively.           (PTE 1 at

  § 3.03(b).) (emphasis added).

              Finally, Article IV of the Supplemental Agreement

  explains the rights of Defendant and subtenants of Defendant.

  (PTE 9 at Art. IV.)      It provides, inter alia, for the right to

  quiet enjoyment and the right to operate aircraft.           Except for

  Section 4.02, Article IV says nothing about servicing transient

  aircraft.    Id.   Section 4.02 does allow Defendant to “use its own

  mechanics” and “to provide emergency maintenance and service on a

  temporary basis to the transient aircraft of guests, visitors and

  invitees . . . with whom [Defendant] or Subtenants may elect to

  conduct business.”     (PTE 9 at § 4.02.)

              Defendant claims that the terms “guests,” “visitors,”

  “invitees,” “licensees,” and “customers” in the GSA and SA permit

  Defendant to provide servicing, maintenance, repair, parking,


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  hangaring, and storage to all transient aircraft.           Its argument,

  in essence, is that the plain meaning of the terms “guests,”

  “visitors,” “invitees,” “licensees,” and “customers” as used in

  the different provisions of the GSA and SA all mean the same

  thing - business “customers” of Landow.         Defendant argues that

  since the plain meaning of the term “customer” is “a person or

  entity which buys goods and services from a shop or a business,”

  a customer of Landow or of its subtenants is any person or entity

  which buys goods or services from either - all transients.            The

  Court rejects Defendant’s suggested construction for the

  following reasons.

              When interpreting any part of a contract, this Court

  must construe the contract as a whole.         Lansdowne Dev. Co. v.

  Xerox Realty, 514 S.E.2d 157, 161 (Va. 1999); Vega v. Chattan

  Assoc., 435 S.E.2d 142, 143 (1993).        “In reviewing the agreement,

  [the Court] must gather the intent of the parties and the meaning

  of the language . . . from an examination of the entire

  instrument, giving full effect to the words the parties actually

  used.”   Layne v. Henderson, 351 S.E.2d 18, 22 (Va. 1986)

  (emphasis added).     “No word or clause in the contract will be

  treated as meaningless if a reasonable meaning can be given to

  it, and there is a presumption that the parties have not used

  words needlessly.” D.C. McClain, Inc. v. Arlington County, 452

  S.E.2d 659, 662 (1995).


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              Guided by these principles, the Court holds that the

  terms “guests,” “visitors,” “invitees,” “licensees,” and

  “customers,” as used in the applicable sections of the GSA and SA

  (PTE 7 at §§ 1.2 and 4.1; PTE 9 §§ 3.01, 3.03, 3.04, 4.02), do

  not mean the same thing nor were they used to refer to the entire

  general transient aircraft market based on the Court’s careful

  reading of the contracts.       Article 37 of the GSA defines the term

  “Transient Aircraft.”      (PTE 7.)    The fact that the term

  “Transient Aircraft,” which is clearly defined in another section

  of the GSA, was not used in Sections 1.2 and 4.1 of the GSA and

  Sections 3.03 and 3.04 of the Supplemental Agreement is telling.

  The Court does not believe that the terms “guests,” “visitors,”

  “invitees,” “licensees,” and “customers,” were used needlessly.

  The reasonable meaning to these terms can be given as the limited

  sub-set of transient aircraft authorized to use DJC for specific

  business purposes.     D.C. McClain, Inc. v. Arlington County, 452

  S.E.2d 659, 662 (1995).

              This conclusion is bolstered by the Court’s reading of

  the GSA and SA, which gives full effect of the words used in

  these contracts.     The Court explained in Part A.1.b, supra, that

  the plain language of the contracts governing the relationship

  between Plaintiff and Defendant suggests a general limitation on

  Defendant’s activities at Dulles and that they must be limited to

  those which the GSA and Supplemental Agreement specifically


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  permit.    Thus, the Court finds unconvincing Defendant’s argument

  that it may serve the general transient market because the GSA

  never explicitly states so.       The terms of the GSA do not set

  limits on Defendant’s activities and allow Defendant free rein

  within those limits.      Instead, the GSA grants Defendant certain

  rights and those rights alone.

              When construing a contract, the Court must ascertain

  the intention of the parties from the entire instrument, as

  expressed in or fairly implied in the writing.          Bott v. N.

  Snellenburg & Co., 14 S.E.2d 372, 374 (Va. 1941).           The Court’s

  job is to take into consideration and reconcile all the

  provisions of a contract, if possible, so that the true intent of

  the parties may be ascertained.        Id. at 374; Justice v.

  Stuyvesant Ins. Co., 265 F.Supp. 63, 65 (W.D. Va. 1967) (“A

  desire to effectuate the intentions of the parties creates the

  necessity of looking to the constituent elements of the contract,

  elucidating one by the other and reconciling them, if

  practicable, to one common intent or design present to the minds

  of the contracting parties.”)

              A few provisions from the Concession Contract and

  Supplemental Agreement are worth noting to effectuate the

  parties’ intention regarding Defendant’s right to service the

  general transient market.       The GSA does not appear expressly to

  allow Defendant to service transient aircraft but rather


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  preserves such right to Plaintiff as part of Plaintiff’s

  concession as an FBO.      See (PTE 1 at § 3.03(a)(2); PTE 9 at

  § 3.04.)    Additionally, Section 3.03(c) of the Supplemental

  Agreement explicitly prohibits Landow from providing services

  that are “provided or reserved to be provided by concessionaires

  or other contractors under contract with” MWAA.          (PTE 9 at §

  3.03(c)).    It is undisputed that Landmark and Signature are the

  only authorized FBO concessionaires at Dulles.

              Lastly, Section 5.04(a) of the Supplemental Agreement

  excuses Landow from having to pay a concession fee for its own

  aircraft, aircraft owned by its tenants, and the “guests and

  visitors” of either Landow or its tenants.         (PTE 9 at § 5.04(a).)

  If “guests and visitors” mean the same thing as “customers”,

  meaning all transient aircraft as contended by Landow, an

  unintended and absurd result would occur: Landow would not have

  to pay concession fees to MWAA for the very same services for

  which Signature and Landmark are required to pay concession fees

  to MWAA.    Thus, reconciling and harmonizing the above identified

  provisions with the provisions that utilize the terms “guests,”

  “visitors,” “invitees,” “licensees,” and “customers” in the GSA

  and Supplemental Agreement, the Court is convinced that parties’

  intention was not to grant Landow the right to handle all

  transient aircraft, but only to a limited subset of transients

  coming to visit Landow or its tenants for specific business


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  purposes.    To hold otherwise would render the GSA and SA

  internally conflicting and irreconcilable.

        2.   Breach

              The Court finds that Signature has satisfied its burden

  of successfully proving the following contractual duties of

  Landow: (1) Landow may not provide the services of an FBO; (2)

  Landow may not act as or hold itself out as an FBO; and (3)

  Landow may not service transient aircraft on the DJC premises

  except for a limited class of those visiting Landow or Landow’s

  tenants for specific business purposes at Dulles.           The next

  inquiry for the Court is whether Defendant breached these legal

  obligations under the GSA.       The following evidence from the

  record suggests that Defendant has breached its contractual

  obligations to Signature.

              The record shows that DJC is clearly offering and

  providing many of the services that Signature is required and

  permitted to provide under the Concession Contract and the

  Supplemental Agreement to the transient aircraft market at Dulles

  such as ground handling, taxiing, towing, ramp assistance, ground

  power units, baggage handling, passenger assistance, ground

  transportation, rental car services, and catering.           (PTE 220);

  (Meeusen at 13:16-15:3, Sept. 3, 2009 A.M.)          Landow did not

  dispute at trial that it is indeed offering many of these

  services to the general transient aircraft market.


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              According to the testimony of Farmer and Bennett, after

  the opening of the DJC at Dulles, they witnessed DJC personnel

  approach overflow transient aircraft that Signature had parked on

  DJC’s ramp, invite these aircraft crew members to conduct their

  business at DJC, and hand out marketing brochures.           (Farmer at

  26:13-27:3, Aug. 31, 2009 P.M.); (Bennett at 125:10-20, Sep. 2,

  2009 A.M.; 3:7-4:1; 4:16-5:6, Sept. 2, 2009 P.M.)           The record

  also shows that Landow is soliciting the general transient

  aircraft business and marketing actively as an FBO despite

  Signature’s demands that it cease and desist from doing so.

  (Farmer at 29:3-13, Aug. 31, 2009);(Crowther at 90:13-91:11,

  Sept. 3, 2009 P.M.)      Landow advertises in the 2009 AC-U-KWICK FBO

  Guide, the national guide for FBO’s used by pilots, (PTE 83, 177,

  183, 257, 272); (Farmer at 49:18-52:6, Aug. 31, 2009 P.M.,) as

  well as on Fltpln.com and Airnav.com, the websites directed to

  the general transient aircraft market.         (PTE 162, 207, 246.)

              The record is replete with evidence that Landow is

  improperly holding DJC out to the general aviation community as

  an FBO.    (PTE 45, 139.)    For example, DJC’s employees often refer

  to DJC as an FBO when speaking to customers and potential

  customers (PTE 105, 132, 186) and its employees represent to the

  public that “besides fuel, we provide all other services an FBO

  provides.”    (PTE 270.)    At the request and approval by Nathan

  Landow, DJC placed advertisements in the United Airlines lounges

  for its employees at Dulles and Chicago’s O’Hare International
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  Airport presenting DJC as the “newest FBO” at Dulles.           (PTE 171);

  (Meeusen at 40:24-42:10, Sept. 3, 2009, A.M.)          Landow also

  referred to DJC as an FBO when soliciting Dow Chemical to become

  DJC’s new transient customer.       (PTE 105.)

              Based on the extensive testimony and supporting

  material in the record, the Court holds that Signature has

  properly proved that Landow breached its obligation owed to it

  under the GSA.

        3. Damages

              At trial, in addition to proving Defendant’s

  contractual obligation and the breach of such obligation,

  Plaintiff had to prove, by preponderance of evidence, that it has

  suffered damages because of Defendant’s breach.          Plaintiff’s

  burden was to prove "with reasonable certainty the amount of

  damages and the cause from which they resulted; speculation and

  conjecture cannot form the basis of the recovery."            Shepherd v.

  Davis, 574 S.E.2d 514, 524 (Va. 2003) (quoting Carr v. Citizens

  Bank & Trust Co., 325 S.E.2d 86, 90 (1985)).          Thus,

        where the loss of prospective profits is the direct and
        proximate result of the breach . . . and they can also
        be proved with a reasonable degree of certainty, such
        loss is recoverable, but it is equally well settled
        that prospective profits are not recoverable in any
        case if it is uncertain that there would have been any
        profits, or if the alleged profits are so contingent,
        conjectural, or speculative that the amount thereof
        cannot be proved with a reasonable degree of certainty.




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  Sinclair Refining Co. v. Hamilton & Dotson, 178 S.E. 777, 780

  (1935) (citing Manss-Owens Co. v. H.S. Owens & Son, 105 S.E. 543,

  549-50 (1921)).     Based on these principles, the Court inquires

  whether Plaintiff has proven two factors: (1) “a causal

  connection between the Defendant’s wrongful conduct and the

  damages asserted; and (2) “the amount of those damage by using a

  proper method and factual foundation for calculating damages.”

  Saks Fifth Avenue, Inc. v. James, Ltd., 630 S.E.2d 304, 311 (Va.

  2006) (internal citation omitted).

              Signature attempted to prove its damages through the

  testimony of Bennett.      Bennett testified that Signature started

  to lose its former customers like Dow Chemical, Eli Lily, and

  Black & Decker almost immediately after DJC’s opening.           (Bennett

  at 93:19-95:6, Sept. 2, 2009 A.M.)         Bennett stated that he

  observed Signature’s customers bypassing Signature’s ramp to get

  to the Dulles Jet Center from his vantage point overlooking both

  facilities.    (Bennett at 93:19-94:15, Sept. 2, 2009 A.M.)          When

  it started to lose its customers to DJC, Signature began tracking

  such aircraft bypassing Signature and traveling directly to DJC.

  (Bennett at 95:24-96:1, Sept. 2, 2009 A.M.); (PTE 242.)

  Signature contends that it loses revenue from parking fees and

  handling charges, assuming no fueling, when these transient

  aircraft bypass Signature’s FBO.          (Bennett at 107:6-13, Sept 2,

  2009 A.M.).


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              To further support its point and to prove its damages

  in more concrete manner, Signature presented at trial its

  National Sales Detail Report as evidence of “long-standing”

  customer relationships that have been disrupted or destroyed by

  Landow’s conduct.     (PTE 210.)    The National Sales Detail Report

  identifies the following information regarding 153 aircraft who

  previously used Signature’s business: (1) the tail number of each

  aircraft; (2) the date on which each aircraft began its customer

  relationship with Signature’s FBO at Dulles; (3) the standard

  parking fee paid to Signature on each trip to Dulles for parking

  fees and handling charges by each aircraft; (4) the date on which

  that aircraft stopped using Signature’s FBO at Dulles and began

  using the Dulles Jet Center; and (5) the revenue Signature

  allegedly lost in handling charges and parking fees each time

  that aircraft bypassed Signature’s ramp for DJC.          (Bennett at

  114:23-119:20, Sept. 2, 2009 A.M.); (PTE 210.)          From this

  information, Plaintiff estimates that it has lost a total of

  $154,810.00.    (Pl’s Proposed Findings of Fact and Conclusions of

  Law (Pl’s Mem.”) at 29.)

              Additionally, Signature contends that because it has

  lost at least 7 transients to DJC per day on average, based on

  Bennett’s testimony, and the average handling charge based on the

  National Sales Detail Report is $525 per plane, that it has lost

  $3,675 in lost revenues per day.          Signature claims that this

  calculation method yields $4,013,100 in total lost revenue that
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  Signature lost from October 2006 to October 2009.           (Bennett at

  99:15-23, Sept, 2, 2009 A.M.); (PTE 210.)

              The Court holds that the evidence proffered by

  Plaintiff at trial failed to prove the amount of damages with a

  reasonable certainty and a causal connection between Landow’s

  wrongful conduct and the estimated damages claimed by Signature.

  First, the e-mail document which supposedly reflects Signature’s

  record of transient aircraft traffic at DJC included customers

  who have never used Signature previously.         (PTE 242); (Bennett,

  52:2-53:17, Sept. 2, 2009 A.M.)        No evidence was adduced at trial

  that these transient customers who had never previously used

  Signature would have chosen Signature over other FBOs located at

  the nearby airports (e.g., BWI, MNZ, KJYO) had DJC not been an

  option for them.     Second, it is unclear that the 153 aircraft

  identified by Plaintiff in its National Sales Detail Report

  actually evidences “long standing” customer relationship between

  these clients and Signature.       No evidence was produced to refute

  very realistic possibility that these supposed “long customers”

  of Signature were also long customers of Landmark at Dulles or of

  other FBOs at nearby airports.       In other words, the fact that a

  customer used Signature a few times over the expansive period of

  time prior to October 2006 does not necessitate the finding that

  they are, in fact, loyal and long standing customers of

  Signature.


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              The Court also notes that based on its observation, it

  found Bennett evasive and his testimony prevaricating when it

  came to the issue of damages and how accurately Signature’s

  record reflected transient customers that Signature’s FBO lost to

  DJC.   For example, Bennett suggested to the Court that

  Signature’s log of DJC transient aircraft traffic (PTE 242)

  accurately reflected all of Signature’s transient customers that

  it lost to DJC.     However, the log included transient aircrafts

  that were never customers of Signature and Bennett knew that

  these customers could have chosen another FBO in the absence of

  DJC.   (Bennett 52:2-54:8, Sept. 2, 2009 A.M.)         Also, even though

  Bennett testified that the National Sales Report reflected a list

  of Signature’s “loyal and frequent” customers, he conceded during

  the cross-examination that some of these customers have only used

  Signature’s FBO once before they moved to DJC and that the

  document may actually be incomplete with respect to time period

  it covered.    (Bennett 105:21-108:24, Sept. 2., 2009 A.M.)

              Signature failed to present any testimony from any of

  its former customers that the sole reason they left Signature for

  DJC was DJC’s opening and solicitation, and that they would have

  used Signature’s FBO otherwise.        Basically, Plaintiff supposes

  that these customers would have never left Signature, used

  Signature’s FBO services as many times as they have used DJC, had

  DJC not violated its obligations under the GSA.          It is quite

  probable that some of these customers simply grew dissatisfied
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  with Signature’s FBO services or the prices of these services as

  compared to other FBOs in the area.        In other words, Signature

  failed to produce any testimony from its former customers that it

  would have continued to use Signature, as many times as they used

  DJC during the relevant time period, if DJC had not been an

  option for them.     It would be much too speculative for the Court

  to blindly assume that all identified former customers of

  Signature would have conducted business with Signature during the

  relevant period especially in light of the presence of another

  FBO at Dulles and other FBOs at the airports in close vicinity.

              Thus, the Court cannot be reasonably certain that the

  damage figure proposed by Signature closely reflects its lost

  revenue over three years.       Based on these reasons, the Court

  finds that while Plaintiff was harmed, it has failed to prove the

  damage prong of its breach of contract claim.          Thus, the Court

  will not award any damages based on Defendant’s breach.

  B.   Declaratory Judgment

              Signature seeks a declaratory judgment regarding the

  parties’ rights under the relevant contracts.          Based on the

  foregoing analysis regarding Defendant’s contractual obligations

  and its breach thereof, the Court declares that, for the duration

  of the GSA: (1) Signature has the exclusive right to service

  transient aircraft on the Dulles Jet Center premises except for a

  limited class of guests, visitors and invitees affiliated with or

  visiting Landow or Landow’s tenants for specific business
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  purposes; (2) Landow must cease and desist from servicing

  transient aircraft, as well as from holding itself out as or

  acting as an FBO, from providing the services of an FBO unless

  otherwise allowed, and from preventing Signature from accessing

  the Dulles Jet Center ramp for uses in the manner consistent with

  the GSA.

   C.    Accounting and Disgorgement

              Signature has also requested the Court to order

  Landow to account for all profits realized from illegally

  servicing Signature’s transient customers and disgorge

  Signature’s loss of profits.       "Under Virginia law, an accounting

  is a form of equitable relief which is available upon order of a

  court in equity providing for an accounting of funds among those

  with a partnership or other fiduciary relation inter se."

  McClung v. Smith, 870 F.Supp. 1384, 1400 (E.D. Va. 1994)

  (emphasis added); Williams v. Reynolds, 2006 WL 3007347 (W.D. Va.

  2006).    Neither evidence produced at trial nor the pleadings

  before this Court suggest that this case involves a partnership

  or fiduciary relationship.       Accordingly, the Court will not order

  equitable relief of accounting and disgorgement in this case.

  D.    Permanent Injunction

              Signature requested that the Court permanently enjoin

  Landow from the following: “(a) acting or holding Dulles Jet

  Center out as an FBO; (b) soliciting and servicing transient


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  aircraft; (c) handling and servicing transient aircraft

  approaching the Signature or Dulles Jet Center ramps and

  invoicing for and collecting fees for these services or otherwise

  interfering with Signature’s ability to perform these functions

  other than the limited class of guests, visitors and invitees

  previously recognized; and (d) preventing Signature from using

  the Dulles Jet Center ramp to park Signature’s overflow transient

  or other aircraft or interfering with Signature’s ability to

  perform these functions” in the manner consistent with the GSA.

  (Pl.’s Mem. at 46.)

              To obtain a permanent injunction, Plaintiff must show:

  “(1) that it has suffered an irreparable injury; (2) that

  remedies available at law, such as monetary damages, are

  inadequate to compensate for that injury; (3) that, considering

  the balance of hardships between the plaintiff and defendant, a

  remedy in equity is warranted; and (4) that the public interest

  would not be disserved by a permanent injunction.”           Christopher

  Phelps & Associates, LLC v. Galloway, 492 F.3d 532, 543 (4th Cir.

  2007) (internal citation omitted).        However, even if Plaintiff

  demonstrates all four elements, the Court may still deny to grant

  a preliminary injunction in its “equitable discretion.”            Id.

              Typically, a party may show an irreparable injury by

  demonstrating a "possibility" that it will suffer a "permanent

  loss of customers to a competitor or the loss of goodwill."


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  Multi-Channel TV Cable Co. v. Charlottesville Quality Cable

  Operating Co., 22 F.3d 546, 552 (4th Cir. 1994).            Landow’s

  violation of its contractual duties caused Signature to lose some

  of its customer base and goodwill.         If the injunction is not

  granted, Signature will continue to lose its customers, possibly

  lose its opportunity to attract new customers, and goodwill in

  the industry.     Because such past and future damages are difficult

  to measure, the Court finds that Plaintiff has met its burden

  with respect to the first factor.         See id.5   Secondly, monetary

  damage in this case is inadequate because it would not prevent

  the future injury that would be suffered by Plaintiff without the

  injunction.    It would be neither adequate or efficient to have to

  require Plaintiff to file a breach of contract in the future to

  be able to recover for its loss.

              The third prong, the balance of hardships test between

  Plaintiff and Defendant, favors Plaintiff.           If the Court does not

  grant the permanent injunction, it is possible that Defendant

  would continue to violate its obligations under the GSA and

  Plaintiff will suffer loss of current and potential customers and

  revenues from such customers stemming from the violation.

  Enjoining Defendant from being able to continue its violation of

        5
          The Court rejects Defendant’s argument that injunctive relief is
  inappropriate because the loss shown by Plaintiff in this case is de minimus.
  (Def.’s Proposed Findings of Fact and Conclusions of Law. (“Def.’s Mem.”) at
  66.) Even though the Court has held that Plaintiff’s proof of damage was not
  certain enough for this Court to award damages, the Court finds that Plaintiff
  has shown that the loss it suffered was not de minimus especially in light of
  possibility of a continuing injury.
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  the GSA will effectively prevent Plaintiff from suffering further

  damages.    Granting the injunction will not harm Defendant because

  it merely forces Landow to abide by its own contractual

  obligations.     See JTH Tax, Inc. v. Donofrio, 2006 U.S. Dist.

  LEXIS 73692 *14 (E.D. Va. 2006) (“[a]n injunction will do nothing

  more then [sic] enforce Defendant's contractual obligations.”);

  see also W. Insulation, L.P. v. Moore, 2008 WL 191335, at *4

  (E.D. Va. 2008).     Thus, enjoining Landow from continuing the

  breach will prevent future lawsuits brought to enforce

  Plaintiff’s rights under the GSA.

              Next, the Court finds that the public interest will not

  be disserved by enjoining Landow from violating its obligations

  under the GSA.     An injunction in this case will serve the public

  interest because it will “insure that future violations will not

  occur” and prevent “future customers from being mislead” that DJC

  is allowed to service the general transient market.           Lone Star

  Steakhouse & Saloon, Inc. v. Alpha of Virginia, Inc., 43 F.3d

  922, 939 (4th Cir. 1995) (internal citations omitted).           Granting

  an injunction in this case supports and promotes the FBO business

  relationships that MWAA, a public entity charged with operational

  control of Dulles, endorsed at Dulles and would not vitiate the

  public bidding procurement process that MWAA has chosen to

  utilize in selecting the FBO providers at Dulles.           The Court will

  not deprive Signature of the benefit of the bargain that it


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  should receive, just because Defendant will incur significant

  financial loss.     Landow did not participate in the bidding

  process to obtain the right to operate an FBO concession at

  Dulles, and the public interest would dictate that it should not

  be able to create the right for which it did not compete.            For

  those reasons, the Court holds that a permanent injunction

  against Defendant is warranted.

              Defendant argues that even if Plaintiff proved all four

  elements proving the necessity for a permanent injunction, the

  Court should exercise its discretion and deny the request because

  “the equities” do not favor Plaintiff.         (Def.’s Mem. 67.)

  Defendant states that Signature should have made it explicit that

  Landow could not service transients in the GSA and that Signature

  belatedly filed a lawsuit almost two years after the opening of

  DJC.   (Def.’s Mem. 67.)     Defendant suggests that it was under the

  impression that it could serve transients up until September 1,

  2006 based on Signature’s actions and that it is being harmed by

  Signature’s “ever-changing” position.         (Def.’s Mem. 67-68.)

  Defendant also claims that Signature has “unclean hands” and the

  doctrine of estoppel should apply.        (Def.’s Mem. 68.)     The Court

  notes that these defenses might apply to all other Plaintiff’s

  claims in the Complaint and accordingly addresses them below.

  E.   Affirmative Defenses by Landow: Estoppel, Waiver, Equities

               “Estoppel, as a doctrine in equity, is the consequence

  worked by operation of law which enjoins one whose action or
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  inaction has induced reliance by another from benefiting from a

  change in his position at the expense of the other.”           Employers

  Commercial Union Ins. Co. of America v. Great Am. Ins. Co., 200

  S.E.2d 560, 562 (Va. 1973).       Under Virginia law, absent a showing

  of fraud and deception, a party asserting equitable estoppel must

  establish representation, reliance, a change of position and

  detriment.    T v. T, 224 S.E.2d 148, 152 (1976).        Additionally,

  “waiver is an intentional relinquishment of a known right.”

  Stanley's Cafeteria, Inc. v. Abramson, 306 S.E.2d 870, 873

  (Va. 1983).    To establish waiver, two elements must be proven by

  clear, precise and unequivocal evidence: (1) “knowledge of the

  facts basic to the exercise of the right” and (2) “the intent to

  relinquish that right.”      Employers Commercial Union Ins. Co. of

  America v. Great American Ins. Co., 200 S.E.2d 560, 562 (1973);

  Utica Mut. Ins. Co. v. Nat'l Indem. Co., 173 S.E.2d 855, 858

  (1970).

              The evidence in the case clearly and sufficiently shows

  that Signature has not relinquished its contractual right at any

  point.    Instead, Signature promptly informed Landow regarding

  Landow’s violation of its contractual duties and steadfastly

  tried to stop Landow from continued violation of the relevant

  contracts.    See (PTE 48, 68, 71, 178, 187A.)        Thus, the Court

  rejects Defendant’s waiver argument.        The Court also notes that

  Defendant may not receive the benefit of estoppel.           The


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  substantial evidence shows that Signature has never suggested to

  Landow that it could service transients or provide FBO services

  before or after signing of the GSA.        Thus, it is Defendant’s

  overall conduct that suggests that it, not Plaintiff, might have

  unclean hands.     Cline v. Berg, 273 639 S.E.2d 231, 233-234 (Va.

  2007) (“He who comes into equity must come with clean hands . . .

  [T]he complainant seeking equitable relief must not himself have

  been guilty of any inequitable or wrongful conduct with respect

  to the transaction or subject matter sued on.”)

              The unrebutted testimony at trial suggests that Nathan

  Landow knew that DJC was not supposed to service the general

  transient market and not to provide FBO services under the

  relevant contracts.      However, he spent too much money in

  constructing DJC, tried to get himself out of the bad deal, and

  failed.    He was in over his head with the deal he struck.

  According to Farmer, whose testimony this Court found believable

  and credible, Nathan Landow specifically requested in early 2004

  that DJC be permitted to service the transient aircraft market

  during their meeting in Signature’s conference room at its FBO

  facility at Dulles and Farmer advised Nathan Landow that

  Signature would not allow Landow to do so.         (Farmer at 87:3-19,

  Aug. 31, 2009, A.M.)

              On October 25, 2006, Farmer and Bennett met with Nathan

  and David Landow to discuss the transient aircraft issues and

  inform them that Landow is not to service the transient aircraft
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  market at Dulles and that it violated the GSA.          (Farmer at 27:23-

  29:13, Aug. 31, 2009 P.M.);(Bennett at 5:2-6:19, Sept. 2, 2009,

  P.M.)    At this meeting, Nathan Landow requested a change in the

  deal by increasing Landow’s share of revenue from Signature’s

  overflow parking and even cutting MWAA completely out of its

  entitlement.    (Farmer at 29:14-30:7, Aug., 31, 2009 P.M.); (PTE

  55.)    Such testimony from Farmer and Bennett was unrebutted.

  Farmer also testified that Landow attempted to bribe him and

  offered to make it “worth his while” if Farmer could help

  convince Signature management to acquire Dulles Jet Center even

  before its opening. (Farmer at 6:16-7:14, Aug. 31, 2009 P.M.)

              Farmer testified that the issue of transients was

  brought up at a dinner meeting at the NBAA convention in Las

  Vegas, Nevada, in October, 2004, before the Supplemental

  Agreement was ratified.      (Farmer at 53:4-54:8, 57:25-62:5, Sep.

  1, 2009.)    Both Farmer and Haskins testified that, at that dinner

  meeting, Haskins expressly told Nathan Landow that DJC would not

  be permitted to handle the transient aircraft market when Nathan

  Landow raised the issue.      In fact, Haskins informed Nathan Landow

  that it would be a “deal breaker” and Nathan Landow agreed that

  it would not do so.      (Farmer at 87:21-88:14, Aug. 31, 2009 A.M.;

  Haskins at 66:1-67:25, Sept. 3, 2009 A.M.)         Farmer testified that

  if he thought Landow did not understand what Signature’s position

  on the transient issue, he would have asked MWAA not to sign and

  ratify the Supplemental Agreement.        (Farmer at 88:22-89:4, Aug.
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  31, 2009 A.M.)     The Court will not discredit Farmer’s testimony

  simply based on the fact that he has confused the timeline in his

  previous depositions.      The Court found his unrebutted testimony

  credible and believable especially in light of the fact that his

  testimony was corroborated by Haskin’s testimony.           The Court

  found Haskins, who retired from Signature in 2005, to be credible

  and unbiased.     (Haskins at 60:4-12, Sept 3, 2009 A.M.)

              The evidence in the record suggests that Landow knew it

  was violating the GSA but continued to violate it anyway.            For

  example, Nathan Landow’s own handwritten list, written on

  memorandum paper “from the Desk of David Landow” specifically

  states that “no transient will be considered a Landow customer,”

  and “Hangar and ramp based customers under lease are Landow

  customers.”    (PTE 213.)    Further, even after Landow informed MWAA

  that it would abide by MWAA’s finding that DJC was not to promote

  itself as an FBO or service the general transient aircraft

  market, it continued to violate the terms of the GSA.           (PTE 192.)

  It sought additional signage at Dulles, tried to gain additional

  aircraft parking space during the Presidential Inauguration

  activities, and attempted to be added to the MWAA’s website under

  the FBO heading with the “other” FBOs at Dulles.          (PTE 193, 194.)

              During its closing argument, Signature highlighted for

  the Court’s consideration the fact that Nathan Landow did not

  testify to rebut the substantial amount of evidence and testimony

  regarding his knowledge of prohibition regarding servicing the
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  general transient market or intent to ignore the parties’

  agreement.    Though the Court certainly would have found Nathan

  Landow’s testimony interesting and highly relevant, the Court

  refuses to draw a negative inference based on Landow’s decision

  not to call Nathan Landow.       “Before a party can raise the

  possibility of drawing an inference from the absence of a

  witness, the party must show that the absent witness was

  peculiarly within the other party's power to produce and that

  witness possessed testimonial knowledge.”         3 Fed. Jury Prac. &

  Instr. § 105.11 (5th ed. 2009) (citing Mammoth Oil Co. v. United

  States, 275 U.S. 13, 52, 48 S.Ct. 1, 10, 72 L.Ed. 137 (1927)).

  This was not the case here.       Nathan Landow was not “peculiarly

  within” Landow’s power to produce.         Signature did not demonstrate

  that it could not require or cause Nathan Landow to testify at

  trial and that Landow had the exclusive ability to do so.            Jones

  v. Meat Packers Equipment Co., 723 F.2d 370, 373 (4th Cir. 1983);

  see also Neeley v. Johnson, 215 Va. 565, 57374, 211 S.E.2d 100,

  10708 (1975); Dunlap v. G. & C. Towing, Inc., 613 F.2d 493, 497

  (4th Cir.1980).     Signature could have subpoenaed Nathan Landow if

  it wanted to examine him or offered or produced relevant excerpts

  from Nathan Landow’s deposition.          Thus, the Court does not draw

  any negative inferences from the fact that Nathan Landow did not

  testify.




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              However, even without the adverse inference requested

  by Plaintiff, the Court concludes that the unrebutted testimony

  of the witnesses and materials in the record overwhelmingly

  suggest the following:      Nathan Landow, who negotiated the terms

  of the SA and GSA and executed GSA himself, was aware of DJC’s

  obligation not to service the general transient markets under the

  contracts, spent too much money in constructing DJC, realized

  that he had gotten himself into a bad deal, and tried to walk

  away from it.     When he could not walk away from it, he knowingly

  violated the terms of the GSA even though he knew he was

  violating the agreement.      These facts suggest that Signature has

  never any representations before or after executing the relevant

  contracts to let Landow form a belief that it could service the

  general transient market.       Though economically detrimental to

  Defendant, the Court does not believe it is inequitable to hold

  the parties to the duties and obligations they themselves

  understood and agreed to uphold under the contract in the absence

  of fraud or deception.      Based on this fact, the Court rejects

  Defendant’s argument that equities do not favor Signature in this

  case.

  F. Defendant’s Counterclaims

              In response to Plaintiff’s complaint, Defendant Landow

  brought a number of counterclaims against Signature asking the

  Court for declaratory judgment on the following issues.

        1.   Fuel Service Quality
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              Landow seeks a declaratory judgment regarding

  Signature’s duty with regard to fuel service in accordance with

  the highest industry standard under the GSA.          Landow argues that

  Signature is violation Section 4.2(a) of the GSA because

  Signature is not providing fuel or invoicing for fuel sold to

  aircraft at DJC in manner consistent with the section.           Section

  4.2(a) of the GSA provides, in part:

        . . . Signature, so long as Signature remains in
        occupancy of Signature’s Premises, expressly represents
        and warrants that it will provide all of the Signature
        Exclusive Services to Sublessee and Sublessee’s
        Representatives (i) in a timely, safe and proficient
        manner, when and as requested by Sublessee or a
        Sublessee Representative, subject to the force majeure
        provisions set forth herein, (ii) in accordance with
        the highest standards of the aviation FBO industry . .
        . .

  (PTE 7 at § 4.2(a).)

              Both parties’ expert witnesses, Robert Showalter

  (“Showalter”) for Signature and Richard Ryan (“Ryan”) for Landow,

  testified that there is no published, officially promulgated, or

  written industry standard for fuel service response times.            (Ryan

  at 5:25-6:5, Sept. 3, 2009 P.M.); (Showalter at 44:8-24; 46:20-

  21, Sept. 15, 2009.)      However, both experts suggested that there

  are certain “customer expectations” and “general understanding

  among the industry” regarding fuel service response times.            (Ryan

  at 5:25-6:5, Sept. 3, 2009 P.M.); (Showalter at 44:8-24; 47:1-4,

  Sept. 15, 2009.)



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              Based on both parties’ expert testimony, it appears

  that there are two types of fueling transactions in the general

  aviation industry: “quick turns” and “normal turns” for urgent

  and non-urgent operations, respectively.         (Ryan at 7:20-8:6,

  Sept. 3, 2009 P.M.); (Showalter at 63:1-17, Sept. 15, 2009).

  Landow’s expert, Ryan, testified that the highest industry

  standard for “quick turns” is 15 minutes from the aircraft being

  in the chocks to completion of the fueling transaction including

  delivery of an accurate invoice. (Ryan at 9:7-12, Sept. 3, 2009

  P.M.)   It appears that Ryan’s expert testimony is consistent with

  Signature’s Fill’n Fly Program, a program for Signature’s fuel

  customers that was advertised and marketed publicly.           (DTE 47 at

  LA104276.)    Signature’s Customer Service Standard Operating

  Procedures for the Fill’n Fly program provides that “the industry

  standard is 15 minutes to fuel” in a quick turn, recognized as an

  urgent procedure, from the time that chocks are in place for the

  aircraft and provided that there has been ten minute advanced

  notice that the customer requires such a turn; and Signature

  guaranteed a quick turn in 12 minutes.         Id.   Ryan further

  testified that, for a normal turn, the highest industry standard

  is completion of fueling and delivery of an accurate invoice

  within 30 minutes, so long as there has been ten minutes or more

  notice of the request for fueling.        (Ryan at 9:18-19, Sept. 3,

  2009 P.M.)


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              Though there appears to be general understanding in the

  industry and expectations among the customers regarding what fuel

  service response time should be for quick and normal turns, the

  Court opines that it need not decide what the actual highest

  standards of the aviation FBO industry requires in this case.

  Overwhelming evidence in the case suggests that Landow was

  offered numerous opportunities by Signature to eradicate Landow’s

  concerns regarding the fuel response time, yet denied such offers

  without a valid reason.      For example, Signature purchased a new

  $350,000 fuel truck to be stationed on the Dulles Jet Center ramp

  for the exclusive use of the tenants based at DJC and placed it

  on the DJC’s ramp.     (Farmer at 59:20-60:14, Aug. 31, 2009 P.M.)

  A few days later, Nathan Landow called Bennett and told him to

  “get the f’ing truck off the ramp.”        Nathan Landow said he didn’t

  understand the benefit of a having a fuel truck exclusively

  dedicated to DJC and rejected Signature’s effort to improve its

  fuel response time.      (Bennett at 28:16-29:8, Sept. 2, 2009 P.M.);

  (Farmer at 71:12-72-13, Aug. 31, 2009 P.M.)          Signature’s offer to

  dedicate a service representative to handle Dulles Jet Center

  requests exclusively was also denied by Nathan Landow without a

  valid reason.     (Farmer at 71:12-72-13, Aug. 31, 2009 P.M.);

  (Bennett at 29:9-29:24, Sept. 2, 2009 P.M.); (PTE 131.)            Finally,

  Nathan Landow rejected without explanation Signature’s offer to

  provide DJC a fuel order request form for Dulles Jet Center

  personnel to fill out which could prevent potential errors in the
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  oral transmission of a fuel order request.         (Bennett at 17:19-

  18:12; 25:16-26:4, Sept. 2, 2009 P.M.); (PTE 91.)

              It is apparent based on this unrebutted evidence that,

  had Landow accepted these reasonable offers by Signature to

  improve its fuel service at DJC, it could have eliminated any

  concerns regarding timeliness of Signature’s fuel services and

  potential errors associated with the invoicing process.

  "There is an implied condition of every contract that one party

  will not prevent performance by the other party. Hence if one of

  the contracting parties prevents the other party from performing

  under a contract, he cannot prevail in an action for

  nonperformance of the contract which he himself has brought

  about."    Whitt v. Godwin, 205 Va. 797, 800 (Va. 1965); Boggs v.

  Duncan, 121 S.E.2d 359, 363 (Va. 1961) (“[H]e who prevents a

  thing may not avail himself of the nonperformance which he has

  occasioned”) (internal quotations and citations omitted).            The

  unrebutted testimony of Farmer and Bennett indicates that this is

  what Nathan Landow has done here.         Thus, the Court declines to

  grant Declaratory Judgment as requested by Landow with respect to

  Signature’s fuel service.

        2.   Plaintiff’s Location of the Taxilane Centerline

              Landow asks this Court to declare the parties’

  respective rights and obligations under the GSA regarding the

  area that it refers to as a “taxilane” located on Signature’s


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  ramp.   The area in dispute is located on the northern part of

  Signature’s ramp to the west of the grass berm located directly

  in front of DJC’s Hangars A and B.        (PTE 232.)    Landow argues

  that: (1) Signature must maintain a “taxilane” on its ramp for

  DJC and its customers’ aircraft for ingress and egress under the

  GSA; and (2) the “taxilane” should not be less than 162 feet wide

  and must extend from the point where the parties’ ramp abut one

  another to the J-1 taxiway connector as depicted on Exhibit D of

  the GSA.    (Def.’s Mem. 70.)

              First, the Court explores whether the GSA obligated

  Signature to maintain a taxilane on its ramp.          Section 2.1 of the

  GSA provides:

        In accordance with the provisions of Section 2.5 –
        Construction of Corporate Hangar Facilities below,
        Sublessee agrees to construct the Corporate Hangar
        Facilities in, on and to the Corporate Hangar
        Premises as provided in Exhibit “D” (the
        “Corporate Hangar Facilities Improvements”) which
        will be attached hereto. It is understood and
        agreed that Sublessee’s receipt of the Authority’s
        written approval of Exhibit “D” hereto shall
        constitute the Authority’s agreement to connect
        the Corporate Hangar Facilities to the Airport’s
        airfield and utility systems, in the locations
        depicted on Exhibit “D.”

  (PTE 7 at § 2.1; Ex. D) (emphasis added.)         Exhibit D of the GSA

  as well as Landow’s construction drawings and specifications, as

  approved by Signature and MWAA, identify a “taxilane centerline.”

  (PTE 7 at Ex. D; DTE 135, 136, 137.)        However, none of the

  construction drawings and specifications and Exhibit D to the GSA
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  reflect or identify any required dimensions for the “taxilane” at

  issue.   Id.

              Under Section 10.1 of the GSA, Signature grants Landow

  “the nonexclusive right to move aircraft between the Corporate

  Hangar Premises and Signature’s airport parking ramps and apron

  and across designated portions of Signature’s Premises to

  designated Airport taxiways and ramps . . . .”          (PTE 7 at

  § 10.1(a).)    Section 10.3 of the GSA adds that “[t]he rights

  granted and/or reserved to Sublessee and Signature, as the case

  may be, in Sections 10.1 and 10.2 hereof, shall constitute

  easements that shall run with the land.”         (PTE 7 at § 10.3.)

  Landow recorded a Memorandum of Ground Sublease Agreement

  memorializing the easement.       (DTE 2.)

              Landow contends that: (1) Exhibit D of the GSA reflects

  the non-exclusive easement identified in Sections 10.1 and 10.3

  of the GSA, and (2) “Taxilane Centerline,” as identified on

  Exhibit D, evidences Signature’s obligation to have a “taxilane”

  on its ramp in accordance with the FAA’s Advisory Circular.

  (Def.’s Mem. 46); (DTE 124 at 3.)         The FAA’s Advisory Circular

  provides that a taxilane for Group III aircraft must have an

  object-free area that is 162 feet wide.         (DTE 124 at 38.)

  Signature does not contest that Landow has an easement to move

  aircraft across its ramp pursuant to Sections 10.1 and 10.3 of

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  the GSA, but contends that no drawings Landow submitted

  establishes the required width of the easement.          (Pl.’s Mem. 53.)

              The Court agrees with Signature.       Based on the plain

  language of the GSA, the Court finds that Section 2.1 does not

  impose any obligations on Signature with respect to construction

  of the Corporate Hangar Premises.         (PTE 7 at § 2.1; Ex. D.)

  Rather, Section 2.1 imposes on Landow an obligation to construct

  the Corporate Hangar Facilities on the Corporate Hangar Premises

  as depicted in Exhibit D.       (PTE 7 at § 2.1.)     The Court will not

  fault Signature for the current width of the “taxilane” in light

  of the clear and unambiguous language of the GSA, which does not

  obligate Signature to construct or maintain on its premise a

  “taxilane” as depicted in Exhibit D.         (PTE 7 at § 2.1.)     Thus,

  the Court will not and need not apply the standards set forth in

  the FAA advisory circular regarding the width of a taxilane for

  Group III aircraft.      Sections 10.1 and 10.3 of the GSA simply

  provides an easement to Landow to access designated portions of

  Signature’s ramp for the movement of its aircraft which may

  involve ingressing and egressing to and from DJC to Airport

  taxiways and ramps.      (PTE 7 at §§ 10.1, 10.3.)      The Court refuses

  to make any determination as to the width and length of the area

  Landow contends constitutes a “taxilane.”



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              The Court also refuses to declare that Signature must

  not park its aircraft in the disputed area.          In Virginia, “when a

  tract of land is subjected to an easement,” as here, “the owner

  may make any use of the land that does not unreasonably interfere

  with the use and enjoyment of the easement.”          Preshlock v.

  Brenner, 362 S.E.2d 696, 698 (Va. 1987) (citing Willing v.

  Booker, 168 S.E. 417, 418 (Va. 1933)).         Thus, the Court finds

  that Signature may park aircraft in this easement area so long as

  it moves Signature’s aircraft upon reasonable notice by Landow

  that it has a legitimate and reasonable need to use this disputed

  area to facilitate the movement of its aircraft.

        3.   Encroachment

              Section 10.2(a) of the GSA states that “Signature shall

  be afforded access to designated portions of the Corporate Hangar

  Premises’ airport parking ramps and apron for the movement of

  aircraft and aircraft support vehicles to and from the Airport’s

  taxiways and ramps” subject to “the availability of vacant space

  on the Corporate Hangar Premises as determined by [Landow] in its

  sole but reasonable discretion.”          (PTE 7 at § 10.2(a)) (emphasis

  added.)    Further, under Section 10.2(b) of the GSA, Signature has

  “the right and privilege to relocate Signature’s customers’

  aircraft from Signature’s Premises to reasonably designated

  portions of the Corporate Hangar Premises.”          (PTE 7 at

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  § 10.2(b).)

              Landow claims that Signature’s customer’s aircraft have

  illegally encroached upon DJC’s ramp when Signature used DJC’s

  ramps to turn its aircraft without request or permission of

  Landow to facilitate parking on Signature’s ramp.           (Def.’s Mem.

  48.)   Signature claims that it is only using vacant space to turn

  aircraft and that the GSA does not include a requirement for

  Signature to contact Landow before utilizing its access rights to

  the Landow ramp.     (Pl.’s Mem. 54-55.)      Landow seeks a declaratory

  judgment with respect to whatever rights of access Signature may

  have for its customer’s aircraft on DJC’s property under Section

  10.2(a) and (b) of the GSA.

              Based on the evidence of record, it appears that

  Signature’s customer’s aircraft may only enter DJC’s premises if

  they are being relocated to DJC’s premises in accordance with

  Section 10.2(b) of the GSA; or they are accessing designated

  portions of the Corporate Hanger Premises’ airport parking ramps

  and apron to facilitate movement of aircraft or availing

  themselves of access rights across DJC’s ramp to a taxiway as

  permitted pursuant to Section 10.2(a) of the GSA.           The turning of

  an aircraft clearly falls into the latter categories.

              Though Section 10.2 of the GSA explicitly states that

  sub-section (a) and (b) are subject to the availability of vacant
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  space as determined by Landow in its reasonable discretion, it

  does not say anywhere that Plaintiff needs to contact Landow

  before utilizing its rights under the section.          (PTE 7 at

  § 10.2.)    Thus, the Court finds that Plaintiff does not have an

  obligation to contact or request permission from Landow every

  time its customer’s aircraft enters DJC so long as Signature acts

  in accordance with Section 10.2 of the GSA.          However, if Landow,

  in its reasonable discretion, believes that there is no

  availability of vacant space on the Corporate Hanger Premises at

  the time Signature tries to access designated portions of the DJC

  pursuant to Sections 10.2(a) and (b) of the GSA, it may then have

  right to refuse Signature from entering DJC’s premises.

        4. Delay and Unreasonable Denial of Westwind and
        Arcadia Permits


              Section 2.5(p)(i) of the GSA provides that Signature

  must:

         . . . respond within ten (10) business days after its
        receipt of all items reasonably required to make an
        informed evaluation and decision with respect to [a
        permit] request time being of the essence. . . .
        Signature shall have the right to reasonably approve,
        reject or require changes to proposals submitted by
        [Landow] to Signature. If Signature does not respond
        to any such request in writing within ten (10) business
        day period, [Landow] shall provide a second written
        notice to Signature. If Signature does not respond to
        this second notice within ten (10) business days of


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        receipt by Signature, such request shall be deemed
        approved.”

              On October 7, 2008, Landow submitted to Signature and

  MWAA a proposed permit for a hangar based tenant known as

  Westwind.    (DTE 35.)    On October 28, 2008, MWAA approved the

  permit for Westwind. (DTE 36.)       On November 3, 2008, Landow

  submitted a proposed permit for another hangar based tenant known

  as Arcadia Aviation (“Arcadia”) to Signature and MWAA for

  approval. (DTE 37.)      On January 15, 2009, MWAA approved the

  permit for Arcadia. (DTE 38).       For both of these permits,

  Signature failed to respond to Landow’s requests for approval

  within ten (10) business days.       Thus, on January 30, 2009, Landow

  sent his second written notice to Signature asking for approval

  of the Westwind and Arcadia permits.        (DTE 39; Potter at 61:8-19,

  Sept. 4, 2009).     On February 10, 2009, which is within ten (10)

  business days from January 30, 2009, Signature sent a letter to

  Landow disapproving the Westwind and Arcadia permit requests

  without setting forth any reasons for disapproval.           (DTE 40.)

  Some time after February 10, 2009, Signature provided Landow its

  reasons for disapproval. (Potter at 64:11-15, Sept. 4, 2009.)

              The Court first notes that Signature did not violate

  Section 2.5(p)(i) of the GSA.       The plain language of this section

  simply states that Signature must “respond” to the second notice

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  regarding the permits of Landow within ten (10) business day of

  receipt and does not specify that Signature must give its reasons

  for disapproval in its response within such time period.             (PTE 7

  at § 2.5(p)(i).)     Thus, the Court believes that Signature’s

  February 10, 2009 response that it was disapproving the permits

  met the requirement under the GSA.6

              Signature stated that it disapproved the Westwind and

  Arcadia permits because of, among others, its concerns over

  Landmark, the other FBO at Dulles, providing aircraft management

  services on DJC premises and its concerns over the fact that the

  parties had a different interpretation regarding certain language

  pertaining to transient aircraft.         (Landow at 54:17-56:8, Sept.

  16, 2009); (McDowell at 18:8-31:25, Sept. 15, 2009.)            Some of the

  language Signature based its disapproval upon had appeared in the

  Landow permit previously. (McDowell at 20:12-22; 21:19-21, Sept.

  15, 2009).    Wendy McDowell (“McDowell”), a senior legal counsel

  at BBA Shared Services, Inc., which provided legal services to

  Signature, testified that Signature had legitimate concerns over

  the Westwind and Arcardia permits, even though some of the

  language had previously been approved, because it became clear to


        6
          Because the Court believes that Signature’s action did not violate the
  duty prescribed by the plain language of Section 2.5(p)(i) of the GSA, it need
  not address whether Plaintiff’s exhibit 282, a series of e-mail correspondence
  between David Landow and Wendy McDowell, constitutes a written, duly executed
  “no hurry, no rush” policy.
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  her at a later point that the parties had different

  interpretation of the pertinent language contained in the

  permits.    (McDowell at 22:1-15; 27:8-15; 29:14-15; 31:1-6.)

              The Court finds the reasons proffered by McDowell as

  basis for Signature’s permit disapproval to be legitimate and

  reasonable.      Just because Signature has previously approved

  permits including substantially similar language as the proposed

  permits does not mean that Signature did not have right to reject

  future requests based on their newly found concerns.           Based on

  these reasons, the Court will deny Defendant’s request for

  declaratory judgment regarding Westwind and Arcadia permits.

                           III. Conclusions of Law

              1.    Plaintiff Signature is a corporation organized

  under the laws of Delaware with its principal place of business

  located in Orlando, Florida.       Defendant Landow is a Virginia

  limited partnership that has its principal place of business in

  Dulles, Virginia.      Thus, these parties are diverse for purposes

  of jurisdiction.      Since parties’ dispute involves an amount in

  controversy greater than $75,000, this Court has proper diversity

  jurisdiction pursuant to 28 U.S.C. § 1332.         Additionally, the

  Court will exercise jurisdiction over the declaratory claims as

  to the rights and obligations of the parties pursuant to 28

  U.S.C. §§ 2201, 2202.

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              2.   The Court finds in favor of Defendant as to

  Plaintiff’s claim of Breach of Contract (Count II) because

  Plaintiff failed to prove its damages by preponderance of

  evidence.

              3.   The Court finds in favor of Defendant as to

  Plaintiff’s request for Accounting and Disgorgement (Count IV)

  because it is not an available remedy in this case;

              4.   The Court finds in favor of Plaintiff as to

  Plaintiff’s request for Declaratory Judgment (Count I) and

  declares that for the remaining duration of the GSA: (1)

  Signature has the exclusive right to service transient aircraft

  on the Dulles Jet Center premises except for a limited class of

  guests, visitors and invitees affiliated with or visiting Landow

  or Landow’s tenants for specific business purposes; and (2)

  Landow must cease and desist from servicing transient aircraft,

  as well as from holding itself out as or acting as an FBO, from

  providing the services of an FBO unless otherwise allowed, and

  from preventing Signature from accessing the Dulles Jet Center

  ramp for uses in the manner consistent with the GSA.

              5.   The Court finds in favor of Plaintiff as to its

  request for Permanent Injunction (Count V) and, for the remaining

  duration of the GSA, enjoins Defendant from: (1) acting or

  holding Dulles Jet Center out as an FBO; (2) soliciting and

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  servicing transient aircraft; (3) handling and servicing

  transient aircraft approaching the Signature or Dulles Jet Center

  ramps and invoicing for and collecting fees for these services or

  otherwise interfering with Signature’s ability to perform these

  functions other than the limited class of guests, visitors and

  invitees previously recognized; and (4) preventing Signature from

  using the Dulles Jet Center ramp to park Signature’s overflow

  transient or other aircraft or interfering with Signature’s

  ability to perform these functions in the manner consistent with

  the GSA.

              6.   The Court finds in favor of Counterclaim Defendant

  Signature as to Counterclaim Plaintiff Landow’s claims of

  Declaratory Judgment (Counts I and III) and denies Landow’s

  request for this Court to make its proposed declarations

  regarding fuel service quality, taxilane, and permits.

              An appropriate Order will issue.



  March 17, 2010                                     /s/
  Alexandria, Virginia                         James C. Cacheris
                                      UNITED STATES DISTRICT COURT JUDGE




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